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 8
 9                                UNITED STATES DISTRICT COURT
10
                              SOUTHERN DISTRICT OF CALIFORNIA
11
     JEFFREY CHEN, on behalf of himself and) Case No: 23-cv-1762-DMS-DEB
12
     all others similarly situated               )
13                                               ) PLAINTIFF’S MEMORANDUM OF
14
                                   Plaintiff,    ) LAW IN OPPOSITION TO
                                                 ) DEFENDANTS’ MOTION TO
15   v.                                          ) BIFURCATE DISCOVERY
16                                               )
     BANK OF AMERICA CORPORATION, ) Hearing
17   a Delaware corporation; and DOES 1-100, ) Date: April 19, 2024
18   inclusive                                   ) Time: 1:30pm
                                                 ) Courtroom: 13A (13th Floor)
19                                   Defendants. ) Judge: The Hon. Dana M. Sabraw
20                                               )
                                                 )
21                                               )
22                                               )
                                                 )
23
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     Plaintiff’s Opposition to Defendants’               3:23-cv-01762-LAB-DEB
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 1           Plaintiff Jeffrey Chen (“Plaintiff”) respectfully submits this memorandum in
 2   support of his opposition to Defendant Bank of America Corporation’s (“Defendant
 3   and/or “Defendants”) Motion to Bifurcate Discovery (“Motion”).
 4
     I.      INTRODUCTION
 5
             After filing a Motion for Judgment on the Pleadings and after previously bringing
 6
     this issue before the Court, which the Court has already rejected, Defendants once again
 7
     insists on bifurcating discovery into two phases: (1) discovery on the merits of Plaintiff’s
 8
     individual claims; and (2) discovery related to class certification issues if plaintiff’s
 9
     claims survive summary judgment. However, as will be shown below, the Court has
10
     previously rejected such bifurcation.
11
             While, on principle, Plaintiff has no qualms about bifurcating the discovery here,
12
     the fact remains that given the deadlines set in this action, with the fact discovery cut-off
13
     occurring in June, and the class certification motion due in July, and the fact that the
14
     status of the pleadings has not been settled (ECF No. 6), the current schedule does not
15
     allow time for the Parties to bifurcate discovery. Thus, Plaintiff’s opposition is
16
     conditional – if the Court does grant the motion, Plaintiff respectfully requests the Court
17
     grant the Parties additional time to complete all discovery in this matter.
18
19   II. BACKGROUND
20           On August 15, 2023, Plaintiff commenced his action against Defendants in the
21   Superior Court of the State of California for the County of San Diego.
22           On September 25, 2023, Defendant removed the action to the District Court. (ECF
23   1).
24           On November 6, 2023, Defendant filed its Motion for Judgment on the Pleadings.
25   (ECF 6). Plaintiff filed his opposition on January 25, 2024. (ECF 11). Defendant filed its
26   Reply on January 29, 2024. (ECF 14). To date, the Court has not ruled on the Motion.
27
28                                               -1-

     Plaintiff’s Opposition to Defendants’                        3:23-cv-01762-LAB-DEB
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 1           On December 12, 2023, the Parties filed a Joint Discovery Plan (ECF 7) where
 2   they agreed to bifurcate discovery as follows: “The Parties propose that, if and when
 3   discovery commences, it be conducted in phases, with individual discovery completing
 4   before class discovery begins, as set forth below in the proposed schedule.” (Id., p. 3).
 5           On January 26, 2024, the Court issued its Scheduling Order Regulating Discovery
 6   and Other Pre-Trial Proceedings (ECF 13). On the issue of discovery, the Court ruled as
 7   follows:
 8         7. All fact discovery shall be completed by all parties by June 28, 2024.
           “Completed” means that all discovery under Rules 30-36 of the Federal Rules of
 9         Civil Procedure, and discovery subpoenas under Rule 45, must be initiated a
10         sufficient period of time in advance of the cut-off date, so that it may be
           completed by the cut-off date, taking into account the times for service, notice
11
           and response as set forth in the Federal Rules of Civil Procedure. Counsel shall
12         promptly and in good faith meet and confer with regard to all discovery disputes
           in compliance with Local Rule 26.1(a). The Court expects counsel to make every
13
           effort to resolve all disputes without court intervention through the meet and
14         confer process. If the parties reach an impasse on any discovery issue, counsel
15
           shall file an appropriate motion within the time limit and procedures outlined in
           the undersigned magistrate judge’s chambers rules. A failure to comply in this
16         regard will result in a waiver of a party’s discovery issue. Absent an order of the
17         court, no stipulation continuing or altering this requirement will be recognized
           by the court.
18
     (Id., p. 5).
19
             With the Court setting one fact discovery cut-off date on June 28, 2024, the Court
20
     in effect rejected the Parties’ proposed bifurcation of discovery in their Joint Discovery
21
     Plan.
22
23   III.    LEGAL STANDARD
24           “In the Ninth Circuit, ‘[b]ifurcation ... is the exception rather than the rule[.]’” In
25   re Sortwell, Inc., No. C 08-05167 JW, 2011 WL 4896475, at *2 (N.D. Cal. Oct. 12, 2011)
26   (quoting GEM Acquisitionco, LLC v. Sorenson Grp. Holdings, LLC, No. C 09–01484 SI,
27   2010 WL 1729400, at *3 (N.D. Cal. Apr. 27, 2010)); see Hangarter v. Provident Life
28                                                 -2-

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 1   and Assoc. Ins. Co., 373 F.3d 998, 1021 (9th Cir. 2004) (Trying issues together is “normal
 2   trial procedure.”). And rightly so—“[i]n general, a single proceeding will be a more
 3   efficient and reasonable means of resolving the action.” Gravity Defyer Corp. v. Under
 4   Armour, Inc., No. LACV1301842JAKJCGX, 2013 WL 12138987, at *2 (C.D. Cal. July
 5   23, 2013). This why the Advisory Committee specifically cautions that “separation of
 6   issues for trial is not to be routinely ordered[.]” Fed. R. Civ. P. 42 advisory committee’s
 7   note (1966).
 8           Indeed, the decision to order bifurcation is discretionary, it should only be ordered
 9   when justified—that is, when bifurcation promotes “convenience ... avoid[s] prejudice,
10   or ... expedite[s] and economize[s.]” Fed. R. Civ. P. 42. And, importantly, the party
11   seeking bifurcation “has the burden of proving that bifurcation is justified.” Sortwell,
12   2011 WL 4896475, at *2 (quoting Spectra–Physics Lasers, Inc. v. Uniphase Corp., 144
13   F.R.D. 99, 101 (N.D. Cal. 1992)). Unsubstantiated claims of jury confusion, prejudice,
14   or efficiency are not enough. E.g., Broad v. N. Pointe Ins. Co., No. 5:11CV2422, 2012
15   WL 12894227, at *1 (N.D. Ohio Aug. 30, 2012) (“Simply complaining of prejudice
16   without producing evidence ... is not sufficient.”).
17
     IV.     ARGUMENT
18
             A.      THE COURT HAS ALREADY REJECTED THE BIFURCATION OF
19
                     DISCOVERY
20
             On December 12, 2023, the Parties filed a Joint Discovery Plan (ECF 7) where
21
     they agreed to bifurcate discovery as follows: “The Parties propose that, if and when
22
     discovery commences, it be conducted in phases, with individual discovery completing
23
     before class discovery begins, as set forth below in the proposed schedule.” (Id., p. 3).
24
             However, on January 26, 2024, the Court issued its Scheduling Order Regulating
25
26
     Discovery and Other Pre-Trial Proceedings (ECF 13) where it rejected the Parties’

27
     proposal of bifurcating discovery, to wit:

28                                                -3-

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 1           7. All fact discovery shall be completed by all parties by June 28, 2024.
             “Completed” means that all discovery under Rules 30-36 of the Federal Rules of
 2           Civil Procedure, and discovery subpoenas under Rule 45, must be initiated a
 3           sufficient period of time in advance of the cut-off date, so that it may be
             completed by the cut-off date, taking into account the times for service, notice
 4           and response as set forth in the Federal Rules of Civil Procedure. Counsel shall
 5           promptly and in good faith meet and confer with regard to all discovery disputes
             in compliance with Local Rule 26.1(a). The Court expects counsel to make every
 6           effort to resolve all disputes without court intervention through the meet and
 7           confer process. If the parties reach an impasse on any discovery issue, counsel
             shall file an appropriate motion within the time limit and procedures outlined in
 8
             the undersigned magistrate judge’s chambers rules. A failure to comply in this
 9           regard will result in a waiver of a party’s discovery issue. Absent an order of the
             court, no stipulation continuing or altering this requirement will be recognized
10
             by the court.
11
     (Id., p. 5).
12
             With the Court setting one fact discovery cut-off date on June 28, 2024, the Court
13
     in effect rejected the Parties’ proposed bifurcation of discovery in their Joint Discovery
14
     Plan. And since only one fact discovery cut-off date was set, which is already
15
     forthcoming in less than three (3) months, Plaintiff has no choice but to dive into class
16
     certification issues in the discovery propounded on Defendant.
17
             B.      BIFURCATION             DEFIES     JUDICIAL        EFFICIENCY            AND
18
                     ECONOMY
19
             Finally, bifurcation means that trial would be extended unnecessarily. It would
20
     also increase the cost of the trial as many, if not most, of the same witnesses would be
21
     called in both phases. There is nothing efficient or economical in bifurcating discovery.
22
     With regard to class actions, Judge Tigar noted:
23
24           “In a putative class action, it is within a court's discretion to set either a
             bifurcated discovery schedule (creating separate ‘pre-certification
25           discovery’ and ‘class discovery’ deadlines) or non-bifurcated discovery
26           schedule.” Shasta Linen Supply, Inc. v. Applied Underwriters Inc., No. 2:16-
             CV-00158 WBS AC, 2018 WL 402235, at *3 (E.D. Cal. Jan. 12, 2018)
27
             (citing Mbazomo v. ETourandTravel, Inc., No. 2:16-CV-02229-SB, 2017
28                                                -4-

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 1           WL 2346981, at *2 (E.D. Cal. May 30, 2017)). “In bifurcated discovery,
             pre-certification discovery is generally initially limited to ‘certification
 2           issues such as the number of class members, the existence of common
 3           questions, typicality of claims, and the representative's ability to represent
             the class.’ ” Id. (quoting Gusman v. Comcast Corp., 298 F.R.D. 592, 595
 4           (S.D. Cal. 2014)). “Among the matters the court may consider in deciding
 5           whether to bifurcate are: (1) the overlap between individual and class
             discovery, (2) whether bifurcation will promote Federal Rule of Civil
 6           Procedure 23’s requirement that certification be decided at ‘an early
 7           practicable time,’ (3) judicial economy, and (4) any prejudice reasonably
             likely to flow from the grant or denial of a stay of class discovery.” True
 8
             Health Chiropractic Inc. v. McKesson Corp., No. 13-CV-02219-JST, 2015
 9           WL 273188, at *1 (N.D. Cal. Jan. 20, 2015) (citation omitted). This Court
             generally does not favor bifurcated discovery in a putative class action. See
10
             also Moussouris v. Microsoft Corp., No. C15-1483JLR, 2016 WL 4472930,
11           at *12 n.14 (W.D. Wash. Mar. 7, 2016) (“[T]he court does not favor
             bifurcated discovery in a putative class action and expects the parties to
12
             proceed with discovery on class issues and other topics relevant to the
13           litigation.”).
14   Imran v. Vital Pharmaceuticals, Inc. (N.D. Cal., Sept. 4, 2019, No. 18-CV-05758-JST)
15   2019 WL 13207582, at *1.
16           Here, as Defendant noted in its motion, the factual basis of Plaintiff’s allegations
17   have changed due to discovery performed in this action.1 Plaintiff alleges that the
18   mechanisms used to provide notice to users of Defendant’s autopay program failed to
19   notify Plaintiff. And the discovery sought by Plaintiff deals with the mechanisms of
20   Defendant’s notification process. (See Decl. Treglio, Exh. A, Plaintiff’s Interrogatories,
21   Exh. B. Plaintiff’s First Set of Requests for Production, Ex. C, Plaintiff’s Requests for
22   Admissions). These mechanisms for providing notice are all mechanical, and there is no
23   question that they would affect both the Plaintiff and the Class Members equally. Thus,
24   there is no judicial economy rendered by limiting discovery to Plaintiff’s individual
25   claims.
26
     1
      In fact, Plaintiff has requested in his opposition to the Motion for Judgement on the
27   Pleadings, to allow Plaintiff to amend his complaint to change the factual basis upon
28   which his claims reside.
                                                  -5-

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  1           Further, there is no question that bifurcation would delay the motion for class
  2   certification, as Defendant’s motion specifically requests the delay. While this delay may
  3   be appropriate given the uncertain status of the pleadings, it does not meet the standard
  4   necessary for bifurcation of discovery here.
  5           Moreover, multiple courts have held that bifurcation of discovery does not lend
  6   itself to judicial economy. For instance, Judge Tigar held in Imran v. Vital
  7   Pharmaceuticals, Inc. (N.D. Cal., Sept. 4, 2019, No. 18-CV-05758-JST) 2019 WL
  8   13207582, at *1
  9
 10           These factors do not support bifurcation here. As both parties acknowledge,
              the rigorous analysis required by Rule 23 “frequently ... will entail some
 11           overlap with the merits of the plaintiff's underlying claim.” Wal-Mart
 12           Stores, Inc. v. Dukes, 564 U.S. 338, 351 (2011). While the parties might
              contest the degree of overlap here, some overlap clearly exists. Next,
 13           bifurcation is unlikely to advance a decision on class certification. For one
 14           thing, fights between the parties about whether discovery constitutes class
              or merits discovery are likely to consume more time than would potentially
 15           be saved by deferring merits discovery until a later date. See In re Rail
 16           Freight Surcharge Antitrust Litig., 258 F.R.D. 167, 174 (D.D.C. 2009)
              (“Bifurcated discovery fails to promote judicial economy when it requires
 17
              ongoing supervision of discovery. If bifurcated, this Court would likely
 18           have to resolve various needless disputes that would arise concerning the
              classification of each document as ‘merits’ or ‘certification’ discovery.”)
 19
              (internal citation and quotations omitted). For another, Defendant has not
 20           shown that non-class merits discovery will be unduly time-consuming.
 21
 22           Judge Mueller held in Obertman v. Electrolux Home Care Products, Inc. (E.D.
 23   Cal., June 18, 2020, No. 2:19-CV-02487-KJM-AC) 2020 WL 8834885, at *2:
 24
              The Supreme Court's landmark decision in Wal–Mart Stores, Inc. v. Dukes,
 25
              564 U.S. 338 (2011), does require a trial court to engage in a “rigorous
 26           analysis[ ] that the prerequisites of Rule 23(a) have been satisfied” when
 27           deciding the issue of class certification. Id. at 351. This analysis frequently
              “entail[s] some overlap with the merits of the plaintiff's underlying claim”
 28                                                -6-

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  1           because the “class determination generally involves considerations that are
              enmeshed in the factual and legal issues comprising the plaintiff's cause of
  2           action.” Ahmed v. HSBC Bank USA, Nat'l Ass'n, No. EDCV152057 FMO
  3           SPX, 2018 WL 501413, at *4 (C.D. Cal. Jan. 5, 2018) (quoting Dukes, 564
              U.S. at 3519) (citing, inter alia, Gusman v. Comcast Corp., 298 F.R.D. 592,
  4           595 (S.D. Cal. 2014)) (“Facts that are relevant to the class determination
  5           frequently will overlap with those relevant to the merits of the case.”).
              Accordingly, many courts “are reluctant to bifurcate class-related discovery
  6           from discovery on the merits.” Id. (quoting Chen–Oster v. Goldman, Sachs
  7           & Co., 285 F.R.D. 294, 299–300 (S.D.N.Y. 2012) (collecting cases)); see
              also Munoz v. PHH Corp., No. 1:08–cv–0759–DAD–BAM, 2016 WL
  8
              10077139, *4 (E.D. Cal. 2016) (“Courts have repeatedly acknowledged that
  9           there is no clear-cut division between discovery that relates to class
              certification and discovery that relates to the merits.”). As one sister court
 10
              has pointed out, “[s]eparating merits and class discovery raise[s] a slew of
 11           issues as to what discovery relates to the class, as opposed to the named
              plaintiffs, thereby causing additional litigation regarding the distinction
 12
              between the two,” and can sometimes “thwart[ ] the informed judicial
 13           assessment that current class certification practice emphasizes,” Ahmed,
 14
              2018 WL 501413 at *3 (citations omitted). This court has been reluctant to
              draw a bright line separating class certification from merits discovery; when
 15           the parties agree to a flexible approach, it has encouraged frontloading class
 16           certification discovery with overlap as appropriate to avoid duplication,
              without providing for bifurcation.
 17
 18   See also Kamrava v. Cenlar Capital Corporation (C.D. Cal., Oct. 7, 2021, No.
 19   220CV11465ABEX) 2021 WL 10373035 (denying a motion for bifurcation); Shaw v.
 20   Experian Information Solutions, Inc. (S.D. Cal. 2015) 306 F.R.D. 293 (granting a motion
 21   to compel further production of documents and denying a request for bifurcation of
 22   discovery); Renvall v. Albertsons Companies, Inc. (S.D. Cal., Aug. 1, 2018, No. 3:18-
 23   CV-00809-H-NLS) 2018 WL 11651330 (denying motion for bifurcation).
 24           Based on Plaintiff’s read of the authorities, it does appear that bifurcation is the
 25   exception in most cases. And here, if the methodology to provide notice to Plaintiff was
 26   faulty, then it was equally faulty to the Class members. Thus, bifurcation is unnecessary
 27
 28                                                -7-

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  1   – though some extension of the discovery period should be provided given the uncertain
  2   status of the pleadings.
  3
      V.      CONCLUSION
  4
              For the foregoing reasons, Plaintiff respectfully requests that the Court deny
  5
      bifurcation.
  6
  7
  8
      Dated: April 5, 2024                            POTTER HANDY, LLP.
  9
 10                                                   By: ___/s/James M. Treglio____________
                                                                  James M. Treglio
 11
                                                      Counsel for Plaintiff and the Putative Class
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  1                                      CERTIFICATE OF SERVICE

  2
              The undersigned hereby certifies that a true and correct copy of the above and
  3
      foregoing document has been served on April 5, 2024, to all counsel of record who are
  4
      deemed to have consented to electronic service via the Court’s CM/ECF system per Civil
  5
      Local Rule 5.4. Any other counsel of record will be served by electronic mail, facsimile
  6
      and/or overnight delivery.
  7
  8
  9
                                                        ___/s/James M. Treglio____________
 10
                                                             James M. Treglio
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